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             ADVERSARY PROCEEDING COVER SHEET                                                                    ADVERSARY PROCEEDING NUMBER
                                                                                                                 (Court Use Only)
                                        (Instructions on Reverse)

        PLAINTIFF:                                                                                 DEFENDANTS:
JOHN DARJEAN                                                                                    SHILO DION SANDERS

        ATTORNEYS (Firm Name, Address, and Telephone No.)                                             ATTORNEYS (If Known)
Ori Raphael 24088273                                   SWEETBAUM MILLER, PC                     Keri L. Riley 47605 CO                      James Van Horn
Mathias Raphael PLLC                                   Alan D. Sweetbaum                        Kutner Brinen Dickey Riley, P.C.            Barnes & Thornburg LLP
13101 Preston Road, Suite 501                          Andrew Miller                            1660 Lincoln Street                         555 12th St NW Suite 1200
Dallas, TX 75240                                       1200 17th Street, Suite 1250             Suite 1720                                  Washington, DC 20004
214-739-0100                                                                                    Denver, CO 80264                            202-371-6351
                                                       Denver, CO 80202
ori@mr.law                                                                                      303-832-2400                                JVanHorn@btlaw.com
                                                       Telephone: (303) 296-3377                klr@kutnerlaw.com
                                                       asweetbaum@sweetbaumlaw.com
                                                       amiller@sweetbaumlaw.com
Jeff Carruth 24001846
WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
24 Greenway Plaza, Suite 2050
Houston, TX 77046-2445
713-341-1158 Fax: (713) 961-5341
jcarruth@wkpz.com



        PARTY (Check One Box Only)                                                                 PARTY (Check One Box Only)
          Debtor           U.S. Trustee/Bankruptcy Admin                                             Debtor           U.S. Trustee/Bankruptcy Admin
          Creditor         Other                                                                     Creditor         Other
          Trustee                                                                                    Trustee

    CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
          DENIAL OF DISCHARGE, 11 U.S.C. §727.

                                                                                  NATURE OF SUIT
                (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

          FRBP 7001(1) - Recovery of Money/Property                                          FRBP 7001(6) - Dischargeability (continued)
[   ]     11-Recovery of money/property - §542 turnover of property                  [   ]   61-Dischargeability - §523(a)(5), domestic support
[   ]     12-Recovery of money/property - §547 preference                            [   ]   68-Dischargeability - §523(a)(6), willful and malicious injury
[   ]     13-Recovery of money/property - §548 fraudulent transfer                   [   ]   63-Dischargeability - §523(a)(8), student loan
[   ]     14-Recovery of money/property - other                                      [   ]   64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                                     (other than domestic support)
                                                                                     [ ]     65-Dischargeability - other
          FRBP 7001(2) - Validity, Priority or Extent of Lien
[ ]       21-Validity, priority or extent of lien or other interest in property              FRBP 7001(7) - Injunctive Relief
                                                                                     [ ]     71-Injunctive relief - imposition of stay
          FRBP 7001(3) - Approval of Sale of Property                                [ ]     72-Injunctive relief - other
[ ]       31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                             FRBP 7001(8) Subordination of Claim or Interest
          FRBP 7001(4) - Objection/Revocation of Discharge                           [ ]     81-Subordination of claim or interest
         41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                             FRBP 7001(9) Declaratory Judgment
          FRBP 7001(5) - Revocation of Confirmation                                         91-Declaratory judgment
[ ]       51-Revocation of confirmation
                                                                                             FRBP 7001(10) Determination of Removed Action
          FRBP 7001(6) - Dischargeability                                            [ ]     01-Determination of removed claim or cause
[ ]       66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
[ ]       62-Dischargeability - §523(a)(2), false pretenses,                                 Other
               false representation, actual fraud                                    [ ]     SS-SIPA Case - 15 U.S.C. §§78aaa et.seq.
[ ]       67-Dischargeability - §523(a)(4), fraud as fiduciary,                      [ ]     02-Other (e.g. other actions that would have been brought in state
               embezzlement, larceny                                                              court if unrelated to bankruptcy case)
         Check if this case involves a substantive issue of state law                              Check if this is asserted to be a class action under FRCP 23
         Check if a jury trial is demanded in complaint                                         Demand $11,890,937.42
        Other Relief Sought:




          complaint 727 001 4896-1521-3729 v.2.docx[1]/4856-3862-1601, v. 1
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                         BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR                                                                                               BANKRUPTCY CASE NO.
   SHILO DION SANDERS
                                                                                                                23-14859-MER
DISTRICT IN WHICH CASE IS PENDING                                        DIVISION OFFICE                 NAME OF JUDGE
   COLORADO                                                                  DENVER                        MICHAEL E. ROMERO

                                                        RELATED ADVERSARY PROCEEDING (IF ANY)

PLAINTIFF                                                         DEFENDANT                               ADVERSARY PROCEEDING NO.


DISTRICT IN WHICH ADVERSARY IS PENDING                                         DIVISION OFFICE            NAME OF JUDGE


SIGNATURE OF ATTORNEY (OR PLAINTIFF)
/s/ Jeff Carruth
Jeff Carruth 24001846
DATE                                                              PRINT NAME OF ATTORNEY (OR PLAINTIFF)
January 29, 2024                                                  Jeff Carruth, Texas Bar No. 24001846




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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF COLORADO
                                DENVER DIVISION

  IN RE:                               §
                                       §           CASE NO. 23-14859
  SHILO DION SANDERS,                  §
                                       §                 CH. 7
                                       §
           Debtor.                     §
                                       §
  JOHN DARJEAN                         §
                                       §
           Plaintiff,                  §
                                       §      Adv. Proc. No. ______________
  vs.                                  §
                                       §
  SHILO DION SANDERS,                  §
                                       §
           Defendant.                  §

          PLAINTIFF’S ORIGINAL COMPLAINT FOR DENIAL OF DISCHARGE




4856-3862-1601, v. 1
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                                                                    INDEX OF EXHIBITS

                        Exhibit ##                                                 Description
                          DAR___

                               001                      State court docket
                               002                      Plaintiff's Original Petition
                               003                      Plaintiff's Third Amended Petition
                               004                      Findings of Fact - Conclusions of Law
                               005                      Final Judgment
                               006                      Deposition excerpts - Darjean
                               007                      CPS Records
                               008                      Deposition excerpts - Haynes
                               009                      Deposition excerpts - McClure
                               010                      Deposition excerpts - Shilo
                               011                      Deposition excerpts - Dr. Phillips
                               012                      Deposition excerpts - Dr. Patel
                               013                      Motion - Third Party Petition
                               014                      Motion - Exclude Expert
                               015                      Appeal - Third Party Petition
                               016                      Transcript - 341 meeting
                               017                      New article - new house Jan. 27, 2024




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                                              UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF COLORADO
                                                      DENVER DIVISION

    IN RE:                                                                §
                                                                          §           CASE NO. 23-14859
    SHILO DION SANDERS,                                                   §
                                                                          §                 CH. 7
                                                                          §
                 Debtor.                                                  §
                                                                          §
    JOHN DARJEAN                                                          §
                                                                          §
                 Plaintiff,                                               §
                                                                          §      Adv. Proc. No. ______________
    vs.                                                                   §
                                                                          §
    SHILO DION SANDERS,                                                   §
                                                                          §
                 Defendant.                                               §


                    PLAINTIFF’S ORIGINAL COMPLAINT DENIAL OF DISCHARGE

TO THE HONORABLE MICHAEL E. ROMERO, U.S. BANKRUPTCY JUDGE:

             John Darjean (“Darjean” or the “Plaintiff”), assault and battery victim, creditor, and party

in interest files this Plaintiff’s Original Complaint for Denial of Discharge (the “Complaint”)

against Defendant Shilo Dion Sanders (“Shilo”1 or the “Debtor”) and in support thereof would

show to the Court the following.

                                                                    INTRODUCTION

             1.            The Court should deny a discharge to Shilo under Code § 727(a) because of his

many abuses of the bankruptcy process.




1
  This Complaint also references Shilo Sanders’ father, Deion Sanders, and his mother, Pilar Sanders. To avoid
confusion due to the common surname, first names are used throughout this Complaint. No offense is intended.



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                                  JURISDICTION, VENUE, AND
                       CONSTITUTIONAL AUTHORITY TO ENTER FINAL ORDERS

             2.            The Court has jurisdiction over this action pursuant to Rule 7001(a)(2) and/or (10)

of the Federal Rules of Bankruptcy Procedure and, without limitation, 11 U.S.C. §§701 and 727.

             3.            Venue action is proper in this Court pursuant to 28 U.S.C. § 1409.

             4.            This is a core proceeding under 28 U.S.C. §157(b)(2).

             5.            The Court may try this action to a conclusion and enter final orders under Stern v.

Marshall, 131 S. Ct. 2594 (U.S. 2011).

                                                                    PARTIES

             6.            Darjean is an individual residing in Dallas County, Texas. Darjean may receive

notice in this action through the undersigned counsel of record.

             7.            Shilo is the Debtor in the underlying Chapter 7 bankruptcy case pending in this

Court. Pursuant to Fed.R.Bankr.P. 7004, Debtor may be served by regular mail by and through

the following address(es), including counsel of record for Shilo.

  Debtor                                                                Counsel for Debtor
   Shilo Dion Sanders                                                     Keri L. Riley
   PO Box 1864                                                            Kutner Brinen Dickey Riley, P.C.
   Longmont, CO 80502                                                     1660 Lincoln Street, Suite 1720
                                                                          Denver, CO 80264

                                                                          James Van Horn
                                                                          Barnes & Thornburg LLP
                                                                          555 12th St NW Suite 1200
                                                                          Washington, DC 20004




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                                                             FACTUAL BACKGROUND

Bankruptcy case history.

             8.            On October 23, 2023 (the “Petition Date”), the Debtor commenced this case by

filing a voluntary petition under Chapter 7 of the United States Bankruptcy Code, Title II United

States Code, 11 U.S.C. § 101 et seq. (the “Code”).

             9.            David V. Wadsworth initially was named and remains as the Chapter 7 Trustee in

this case.

             10.           With the Petition, Shilo filed his initial schedules and statement of financial affairs

(“SOFA”). See Docket No. 1.

             11.           On the day of the Code § 341 meeting of creditors, Shilo filed amended schedules

and an amended SOFA. See Docket Nos. 19, 20, 21.

Procedural background of the Lawsuit.

             12.           On June 20, 2016, John Darjean (“Darjean”) filed a lawsuit against Shilo Sanders

(“Shilo” or the “Debtor”) in the 160th Judicial District Court, Dallas Texas, Cause Number DC-

16-0737 (the “Lawsuit”). Ex. DAR002 (Plaintiff’s Original Petition2); Ex. DAR003 (Plaintiff’s

Third Amended Petition).

             13.           Darjean filed the Lawsuit because of the horrible and vicious attack committed by

Shilo on Darjean that occurred on September 17, 2015 (the “Incident”).

             14.           As further explained below, Shilo was represented by counsel and was a full

participant in all proceedings through and until the trial.




2
    Each exhibit identified and/or referenced in this Complaint is incorporated by reference herein as if fully set forth
    verbatim. See Fed. R. Bank. P. 7010(c)



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             15.           For example, counsel for Shilo defended his deposition, brought motions for leave

to file third party actions, appealed an associate judge’s decision denying a motion, filed motions

to exclude expert testimony, and participated in discovery, among other pretrial activities.

             16.           In an effort to escape liability and accountability, and after diligently contesting the

Lawsuit through and until the trial, Shilo simply ignored all notices and refused to appear for trial.

Ex. DAR001 (docket).

             17.           On April 12, 2022, the state court entered its Findings of Fact (“FOF”); Ex.

DAR004 (FOF).

             18.           On May 18, 2022, the state court also entered judgment against Shilo and in favor

of Darjean in the original principal amount of $11,890,387.42 (the “Judgment”). Ex. DAR005

(Judgment).

             19.           To date, the entire Judgment remains unsatisfied.

             20.           On October 20, 2023, Darjean was on the verge of the appointment of a receiver

over Shilo, which hearing was stayed by the commencement of this case. Ex. DAR001 (docket).

The underlying assault and battery.

             21.           At the time of the Incident, Darjean was employed as a security officer at Focus

Academies (“FA”) and had held that position since 2011. Ex. DAR006 (Darjean Depo), p. 20

L:15-18.

             22.           Shilo was a student at Triple A Academy (“Academy”), the FA high school. Ex.

DAR006, p. 25 L:16-25.

             23.           Shilo was fifteen years of age at the time of the Incident. Ex. DAR007 (CPS3

records), p. 12.


3
    CPS refers to Texas Child Protective Services.



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              24.           Shilo turned eighteen years of age on February 9, 2018, well before trial.

              25.           On Thursday, September 17, 2015, at approximately 10:45 a.m., Darjean was

 contacted by the Academy principal, Mrs. Green, as Darjean was going to lunch. Ex. DAR006,

 pp. 25-26.

              26.           Mrs. Green asked Darjean if Darjean would retrieve Shilo.

              27.           Shilo was playing a dice game in a classroom and interrupting class despite the

 teacher’s requests for Shilo to stop. Ex. DAR006, pp. 26, 27.

              28.           Darjean arrived at the classroom and waved Shilo to come with him. Ex. DAR006,

 pp. 27, 28.

              29.           Shilo stood up cursing and stated “man, I just want to know the mother fucker that

 snitched on me.” Ex. DAR006, p. 28 L:15.

              30.           Darjean then escorted Shilo to the office of Coach Hart, FA’s disciplinary officer

 at the time. Ex. DAR006, p. 29, 30.

              31.           En route to, as well as upon arriving at the disciplinary office, Shilo was cursing

 loudly and repeatedly asked “who snitched on him.” Ex. DAR006, pp. 31, 32 L:11-15.

              32.           Because Shilo acted disruptively in the disciplinary office, Coach Hart instructed

 Darjean to take Shilo to In-School Suspension “ISS,” which Darjean promptly did. Ex. DAR006,

 p. 33 L:15.

              33.           Approximately five (5) minutes after leaving Shilo at ISS, Darjean received a call

 to return to ISS and escort Shilo back to the disciplinary office because Shilo was making telephone

 calls against school policy and otherwise being disruptive. Ex. DAR006, pp. 34, 35.




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              34.           Shilo was uncontrollable, shouting obscenities and cursing at school staff, all while

 refusing the ISS teacher’s numerous requests to cease acting out and to stop talking on his

 telephone. Ex. DAR006, pp. 34-36.

              35.           Darjean then brought Shilo to his own office because Coach Hart was out to lunch.

 Ex. DAR006, pp. 37-38.

              36.           While in Darjean’s office, an assistant of Shilo’s father, Deion Sanders, came to

 Darjean’s office. Ex. DAR006, p. 40.

              37.           The assistant had Deion Sanders on the telephone when the assistant arrived at the

 office and, upon entering, passed the telephone to Darjean. Ex. DAR006, p. 40.

              38.           Deion Sanders heard that Shilo was calling Deion’s ex-wife, Pilar Sanders, and

 Deion Sanders demanded Darjean stop Shilo from contacting Pilar Sanders by Darjean seizing

 Shilo’s phone. Ex. DAR006, p. 40.

              39.           At the time, Deion and Pilar were going through a public and nasty feud in family

 court over their divorce and custody matters. Ex. DAR006, p. 40.

              40.           Deion Sanders repeatedly asked Darjean to take the phone from Shilo.             Ex.

 DAR006, p. 40.

              41.           Furthermore, using the telephone was a violation of FA’s policies, procedures, and

 rules. Ex. DAR006, p. 40.

              42.           Darjean repeatedly and calmly asked Shilo to get off the telephone and turn it over

 to him. Ex. DAR006, pp. 38-40.

              43.           Shilo refused every request of Darjean to relinquish the phone. Ex. DAR006, pp.

 38-40.




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              44.           Shilo then abruptly walked out of the office despite being told not to do so. Ex.

 DAR006, pp. 38-40.

              45.           Deion Sanders told Darjean “do me a huge favor,” he said, “you're my brother in

 Christ, I need you to go get the phone…as soon as you get the phone from him, give me a call

 back.” Ex. DAR006, p. 43 L:7-10.

              46.           Darjean followed Shilo into the hallway when suddenly and without warning, Shilo

 violently attacked Darjean. Ex. DAR006, pp. 38-40.

              47.           Darjean was telling Shilo he could not use the telephone and was attempting to take

 the telephone from Shilo when Shilo snapped and:

              “took his elbow and slammed it as hard as he could, super hard, right at my chest and up
              in my -- and then it drove it into my neck, and then I fell back. And then when I fell back,
              my mind instantly went into restrain, restrain, restrain from hitting any kids because we
              had about seven kids right there, from hitting me again or him hurting himself again. So, I
              come to and I come back up. As I fall back, I come back up. I feel two more blows right at
              my chest and my neck, boom, boom.” Ex. DAR006, p. 47 L:5-15.

              48.           When Shilo’s attack came to an end, Darjean lay on the ground and immediately

 began feeling tingling sensations and his equilibrium was off. Ex. DAR006, p. 49.

              49.           The violent attack was witnessed by multiple employees of FA and recorded on

 video surveillance. Ex. DAR008 (Haynes Depo.), pp. 12, 14.

              50.           An Employee of FA and the Academy, Saundra Haynes (“Haynes”) “witnessed

 Shilo punching coach Darjean in the face.” Ex. DAR008, pp. 12 L:9-11, 14L:19.

              51.           Shilo was using his fist when employee Haynes witnessed the melee in clear view.

 Ex. DAR008, p. 15 L:19-20.

              52.           Darjean then lost control of his bladder and uncontrollably urinated all over himself.

 Ex. DAR006, pp. 49, 50.




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              53.           Darjean was dizzy and lightheaded and in a lot of pain and had a tingling sensation

 all down his left side. Ex. DAR006, pp. 49, 50.

              54.           Emergency 911 was called, and Darjean, assisted by another employee, was taken

 down the hall where they met up with the paramedics.

              55.           Darjean was placed on a stretcher and taken by ambulance to the hospital. Ex.

 DAR006, p. 51.




   September 22, 2023, Darjean in the Emergency Room after a 6-level posterior cervical
   decompression with a posterior cervical fusion.


 A history of discipline problems leading to the assault.

              56.           Prior to the attack, Shilo had numerous disciplinary and troublesome issues at FA.

 Ex. DAR009 (McClure Depo), pp. 69-70).

              57.           Shilo was disciplined for threatening a teacher just two weeks prior to the attack on

 Darjean, and the disciplinary problems FA had with Shilo were too numerous to list them all. Ex.

 DAR009, pp. 69-70.

              58.           In fact, every time Deion Sanders “turned around, someone [was] talking to him

 about a discipline problem that Shilo had.” Ex. DAR009, p. 70 L:4-6.



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              59.           After the Incident, Darjean immediately filed a police report with the Dallas Police

 Department. Ex. DAR006, p. 52:15-20.

              60.           Shilo was suspended from school immediately after the attack on September 17,

 2015, and sent home. Ex. DAR007 (CPS records), p. 11, Ex. DAR009, p. 64.

              61.           FA and/or the Academy barred Shilo from returning to school the following day.

 Ex. DAR009, p. 64.

              62.           However, on September 18, 2015, Shilo returned to FA despite being suspended,

 to hunt down the student who supposedly “snitched” on him for shooting dice in class.

              63.           Shilo found student “D.A” (a minor) and attacked him, committing assault and

 battery on D.A.

              64.           Again, FA and/or the Academy barred Shilo from the school, and Shilo was sent

 home again.

              65.           Deion Sanders took Shilo to the Dallas County Juvenile Detention Center due to

 Shilo’s violent, erratic, and dangerous conduct assaulting and battering Darjean and another

 student within 24 hours of each other.

              66.           On September 18, 2015, Deion Sanders transported Shilo to, and admitted Shilo

 into, the Letot Center crisis intervention program where he stayed for 30 days. Ex. DAR007, pp.

 11, 13 and Ex. DAR010, (Shilo depo) pp. 221.

              67.           The Texas Department of Family and Protective Services investigated Shilo’s

 actions while Shilo was incarcerated and determined, based upon Deion’s testimony and video

 evidence from the school, that Shilo instigated the attack on Darjean and was to blame Ex.

 DAR006, p.60; Ex. DAR007, pp. 1-22.




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 Permanent, debilitating injuries to Darjean

              68.           As a result of Shilo’s assault and battery, Darjean sustained severe and permanent

 injuries including a broken neck, damage to his cervical spine, permanent neurological injuries

 and irreversible incontinence.

              69.           The injuries Shilo inflicted on Darjean are extensive debilitating, painful, and

 permanent.

              70.           Darjean now experiences constant sharp pains, uncontrollable muscle spasms,

 numbness throughout his body, and weakness on his left side and in his arms.

              71.           On occasion, Darjean also suffers from slurred speech.

              72.           Doctors performed a cervical spine fusion surgery upon Darjean at the C3 through

 C7 levels, and the levels above and below that fusion were herniated and causing cord compression

 caused by Shilo’s attack. Ex. DAR011 (Dr. Phillips depo.), p. 20 L: 1-20.




            September 17, 2015, X-ray of Darjean prior to his first Cervical Spine Fusion



              73.           The “semi-emergent cervical spine surgery was performed by Dr. Patel at

 Methodist Hospital. Ex. DAR011 (Dr. Phillips depo), p. 10 L:9.



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              74.           When asked “what's the difference in the healing process for a spinal cord versus

 like a muscle strain,” Dr. Patel responded that “[a] Spinal cord is very unforgiving. It's like lying

 to your wife.” Ex. DAR012, (Dr. Patel depo), p. 27 L:2.

              75.           The fusion of five vertebral bodies puts additional stress on the areas that are not

 fused, accelerating the breakdown of those levels. Ex. DAR012, (Dr. Patel depo), p. 27-28.

              76.           Darjean’s hardware failed which resulted in his most recent surgery below.




   On September 22, 2023, Darjean underwent a 6-level posterior cervical decompression with a
   posterior cervical fusion due to the hardware failure from the previous cervical fusion.


              77.           As of February 19, 2016, Darjean was still having ongoing “left neck, shoulder

 blade and left upper extremity back as well as left low back and left lower extremity pain.” (Ex.

 DAR011 (Dr. Phillips depo), at p. 10 L:19.




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              78.           The upper extremity pain went “[d]own into the arm into the extensor forearm and

 into primarily the index and third finger.” Ex. DAR011 (Dr. Phillips depo), at L:23.

              79.           Furthermore, Darjean suffered “neuropathic injury and pain with ongoing loss of

 strength and decreased sensation in the C7 pattern” as diagnosed by Dr. Phillips. (Ex. DAR011

 (Dr. Phillips depo), p. 11 L:3.

              80.           Darjean additionally suffered from “back pain going into the buttock down the leg,”

 suffered from pain indicative of an L5 nerve pattern which was present in his posterior thigh,

 lateral calf, the dorsal aspect of the foot, and pain which traveled all the way down into his great

 toe. (Ex. DAR011 (Dr. Phillips depo), p. 11 L:8.

              81.           Darjean also continued to have “increased discomfort with neck flexion, lateral

 bending, and rotational movement that was more to the left than right on range of motion. Ex.

 DAR011 (Dr. Phillips depo), p. 12 L:24.

              82.           In 2016 alone, Darjean underwent multiple “transforaminal epidural injections.”

 providing some relief. Ex. DAR011 (Dr. Phillips depo), p. 28-29.

              83.           As of March of 2017, Darjean continued to have severe neck and upper extremity

 pain, numbness and “ongoing neurologic or neuropathic pain in that left C7 pattern” presenting to

 the ER when he would experience severe numbness, spasms, slurring his speech and losing

 strength in his legs (Ex. DAR011 (Dr. Phillips depo), p. 29.

              84.           Darjean’s continued pain was so severe that he had to go to the emergency room

 on several occasions during 2017 as the medications Darjean was taking would not control the

 pain levels. Ex. DAR011 (Dr. Phillips depo), p. 30).

              85.           By November of 2017 Darjean received a permanent spinal cord stimulator

 amongst other treatments and emergency room visits. Ex. DAR011 (Dr. Phillips depo), p. 34.




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              86.           In 2018, Darjean was receiving ongoing treatment for his conditions including “IM

 pain injections three to four times per month despite us trying multiple medications for spasms”

 and had several more emergency room visits as often pain levels were not manageable. Ex.

 DAR011 (Dr. Phillips depo), p. 37.

              87.           Because of the injuries he sustained in the assault and battery by Shilo, Darjean was

 unable to return to work at FA. Ex. DAR004 (FOF), I-18.

              88.           As of the signing of the FOF, Darjean was still receiving medical treatment for his

 injuries and will continue to do so for the remainder of his life. Ex. DAR004 (FOF), I-11).

              89.           Darjean must continue to wear adult diapers due to his incontinence caused by his

 spine and neck injuries and continues to suffer from spasms, sharp pains, weakness and numbness

 on a daily basis.

 The Lawsuit and final Judgment

              90.           Shilo was fifteen at the time of the Incident and sixteen at the time the lawsuit was

 filed. Ex. DAR007 (CPS rec.) p. 12 of 22.

              91.           During his deposition in the case, on February 19, 2018, Shilo was 18 years old and

 a legal adult (Shilo’s birthdate is Feb. 9, 2000). Ex. DAR010 (Shilo depo.), p. 211.

              92.           By the time the case was called to trial, on March 28, 2022, Shilo was twenty-two

 (22) years old and well past the age of majority.

              93.           On August 16, 2016, Utica Mutual Insurance Company (“Utica”) filed a Plea in

 Intervention in the lawsuit seeking subrogation of workers compensation benefits paid to Darjean

 and arising out of the incidents made the basis of Darjean’s action filed against Shilo. Ex. DAR004

 (FOF), Ex. DAR005 (Judgment).




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              94.           On March 28, 2022, after protracted litigation, much discovery, many hearings. and

 many trials rescheduled, the case was called to trial. Ex. DAR001 (docket); Ex. DAR005,

 (Judgment).

              95.           Shilo had vigorous legal representation throughout the litigation which spanned

 over five years. DAR001 (docket)Ex. DAR001 (docket).

              96.           Shilo, for example, brought motions for leave to file third party actions; appealed

 the associate judge’s decision denying the motions for leave; and Shilo filed motions to exclude

 expert testimony, just to name a fraction of the filings. Ex. DAR001 (docket), Ex. DAR013

 (motion third party action), Ex. DAR014 (motion to exclude), Ex. DAR015 (appeal).

              97.           In fact, a review of the trial court’s proceedings demonstrates that Shilo was well

 represented throughout the litigation contesting numerous matters, filing a number of motions and

 pleadings, and asserting legal positions and arguments, and litigation every twist and turn of the

 case far beyond any usual standards. DAR001 (docket).

              98.           However, Shilo failed to appear for the trial. Ex. DAR001 (docket); Ex. DAR005

 (Judgment).

              99.           On April 12, 2022, the trial court entered its FOF. Ex. DAR004 (FOF).

              100.          On May 18, 2022, the trial court entered a Final Judgment against Sanders and in

 favor of Darjean and Utica. Ex. DAR005 (Judgment).

              101.          The trial court found and concluded that Sanders committed assault and battery on

 Darjean and that Darjean suffered physical harm and injuries proximately caused by Sanders

 wrongful actions. Ex. DAR004 (FOF) III-1, 2, 9.

              102.          A final Judgment was entered based upon the intentional torts committed by Shilo,

 in the amount of $11,890,937.42 in favor of Darjean. Ex. DAR005 (Judgment).




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              103.          That Final Judgment was not appealed nor was a motion for a new trial filed. Ex.

 DAR001 (docket), Ex. DAR005 (Judgment).

              104.          Because Shilo participated fully in the Lawsuit until the eve of trial, and then again

 following the entry of the Judgment, the failure of Shilo to attend trial was willful and intentional.

              105.          Shilo sufficiently participated in the Lawsuit such that the FOF and the Judgment

 should be given preclusive effect in this adversary proceeding.

 Shilo files for Bankruptcy.

              106.          On July 11, 2023, Darjean filed a Motion for Post-Judgment Receivership in Dallas

 County Courts, Cause No. DC-16-07371.

              107.          The hearing for Post-Judgment Receivership was set for September 15, 2023, on

 the above said motion.

              108.          On September 5, 2023, Shilo’s new attorneys from a national, big-named law firm

 (which firm has also appeared for Shilo in this case) suddenly appeared in the lawsuit and requested

 a rescheduling of the hearing for time to become acclimated to the case.

              109.          The hearing for post-judgment receivership was reset to October 20, 2023

              110.          Shilo filed a response to the Motion for Post-Judgment Receivership on October

 17, 2023.

              111.          On October 19, 2023, Shilo was served with a subpoena to attend the October 20,

 2023, post-judgment receivership hearing.

              112.          The Court unilaterally rescheduled the Post-Judgment Receivership hearing to

 November 3, 2023.

              113.          On October 23, 2023, a mere 3 days after being served a subpoena to attend the

 post-judgment receivership hearing, Shilo filed for Chapter 7 Bankruptcy based solely on

 Darjean’s attempts to collect the $11.89 million Judgment.


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              114.          The post-judgement receivership was automatically stayed due to the bankruptcy

 filing by Shilo.

 Schedules and the Meeting of Creditors.

              115.          On October 23, 2023, Shilo filed his schedules with his petition, Docket No. 1.

              116.          On December 19, 2023, just prior to the Code § 341 meeting of creditors Shilo filed

 amended schedules, including amended Schedule AB, Docket No. 20.

              117.          According to the schedules, Shilo possesses only the personal property referenced

 and described below.




              118.          On December 19, 2023, the Chapter 7 Trustee conducted and concluded the Code

 § 341 meeting of creditors, which meeting raised a host of questions as to the nature and extent of

 the wealth owned and generated by Shilo and how much Shilo intentionally omitted from the

 schedules.

              119.          A transcript of the meeting of creditors is attached hereto as Ex. DAR016

 Items not disclosed on schedules.

              120.          The schedules on their face are troubling in many aspects.




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              121.          Shilo twice failed to itemize and give value to the individual items of personal

 property.

              122.          Shilo has made no attempt to cure these deficiencies since the creditors meeting.

              123.          The initial Schedule AB claimed $75,000 of jewelry, and then the amended

 Schedule AB suddenly disclaimed ownership.

              124.          No description of the jewelry was provided in the schedules or to Darjean.

              125.          Shilo is known to own and possess skiing or snowboarding equipment and/or gear,

 which are omitted from Schedule AB.

              126.          Shilo is known to own and possess music equipment, which are omitted from

 Schedule AB.

              127.          Shilo twice indicated that the amount of his clothing and shoes is unknown.

              128.          As with the other asset categories, Shilo failed to make any kind of categorization

 or itemization of his clothing and shoes and did not make any attempt to value.

              129.          Schedule AB discloses the ownership of a Mercedes GLE AMG 635, but at the

 meeting of creditors interests in at least two other vehicles were disclosed. No subsequent

 amendments to the schedules were made after the meeting of creditors to address these additional

 vehicles.

              130.          Contrary to the schedules, Shilo has admitted acquiring vast amounts of high end

 and expensive clothing. For example, on his YouTube Channel posted on May 4, 2023, he states,

 “Alright we at the Louis (Vuitton) Store I am trying to spend at least $50,00.00 today.”

              131.          The schedules omit all of the Louis Vuitton wallets, bags, luggage, clothing, or

 shoes displayed on his Instagram, TikTok, and YouTube accounts.




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              132.          The schedules fail to mention any other designer brands plastered over his

 Instagram, TikTok, and YouTube account.

              133.          Schedule AB-19 discloses the existence of Shilo in Big 21, LLC and SS21, LLC.

              134.          The schedules make no attempt to value the interest of Shilo in these entities or the

 revenue stream from the entities,

              135.          The schedules make no mention of any number of partnerships, deals, and/or

 contracts with any agents and/or managers including but not limited to SMAC Entertainment, Well

 Off Media, Colorado University, Tabetha Plummer, Georgie Moskowitz, Constance Schwartz, and

 any other company/agent/manager.

              136.          At the meeting of creditors, Shilo claimed to possess little to no knowledge of the

 formation or workings of Big 21, LLC and SS21, LLC except that Shilo is the sole owner of each

 entity and that the entities are the purported vehicles for contracting the paid promotional

 appearances and/or Name, Image, and Likeness (“NIL”) transactions of Shilo.

              137.          Shilo also fails to address in the Schedules the NIL deals, contracts, and/or

 payments made to him and/or to his companies for any of the obvious paid engagements in which

 Shilo has appeared in the last several months including but not limited to the following.

                            a.            September 28, 2023, Instagram paid partnership with Tint my Ride.
                            b.            September 13, 2023, Instagram Paid Partnership with KFC Hot & Spicy
                                          Wings.
                            c.            August 17, 2023, Instagram Paid Partnership with KFC $20 Fill Up Box.
                            d.            August 1, 2023, Instagram and Tiktok Paid Partnership with Metaquest.
                            e.            July 3, 2023, Commercial with KFC BBQ Fried Chicken Sandwich.
                            f.            June 14, 2023, Instagram Paid Partnership with The Sanders Family and
                                          KFC.
                            g.            June 13, 2023, Instagram Paid Partnership with The Sanders Family and
                                          KFC.
                            h.            March 8, 2023, Instagram Paid Partnership with Turbo Tax.



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                            i.            February 26, 2023, Instagram Paid Partnership with Champs Sports.
                            j.            February 12, 2023, Instagram Paid Partnership with Oikos Yogurt.
                            k.            January 31, 2023, Oikos Yogurt Superbowl Commercial.
                            l.            August 3, 2022, Paid Partnership with Porsche Jackson.
                            m.            October 21, 2022, Paid Partnership with Actively Black.
                            n.            October 20, 2022, Paid Partnership with Kinly.
                            o.            October 11, 2022, Paid Partnership with Instagram Cloud Gaming
                                          Chromebook AD.
              138.          Shilo doesn’t mention any deals, contracts, or payments on behalf of monetization

 from views, engagement, ads, and paid partnerships from his social media accounts, which include

 at least the following.

                            a.            YouTube Views/Ads/Paid Partnerships.
                            b.            Instagram, Threads, Facebook Ads/Paid Partnerships.
                            c.            TikTok Views/Ads/Paid Partnerships.
              139.          Both times, Shilo marked Schedule AB-26 “none” for copyrights, trademarks, trade

 secrets, and other intellectual property and Schedule AB-27 “none” for any other general

 intangible property.




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              140.          On the surface, this omission is as glaring as it is preposterous because it is Shilo’s

 very NIL value and/or public value that are the source of the non-stop paid engagements and social

 media appearances.

              141.          The entire underpinning of the NIL concept is the value of the individual athlete,

 but Shilo chose not only to hide the value of the entire NIL endeavor with the “unknown” listings

 for the two of the entities that were disclosed (Big 21 LLC and/or SS21 LLC), but Shilo

 intentionally failed to identify and disclose his individual NIL property interest anywhere in the

 schedules.

              142.          Shilo must have assumed that the trustee and creditors would simply know that the

 individual NIL interest must exist because of his name alone or perhaps by the flood of social

 media appearances, but any such assumption does not excuse the failure of Shilo to identify,

 disclose, and value his most significant and highly valuable asset in the key document of the

 individual Chapter 7 debtor.

              143.          Similarly, Shilo failed to disclose in Schedule G any contracts between himself and

 the NIL contracting entities, such as Big 21 LLC and/or SS21 LLC.




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              144.          Similarly, Shilo failed to disclose in SOFA 18 any transfers of his individual NIL

 interest to the entities identified in Schedule AB-19 (Big 21 LLC and/or SS21 LLC) or to any other

 entity.




              145.          The lack of disclosure of the individual NIL interest of Shilo and the sworn lack of

 any contacts or transfers between Shilo and Big 21 LLC and/or SS21 LLC provide every indication

 that Big 21 LLC and/or SS21 LLC, and any other entities through which Shilo receives and/or

 purports to receive NIL consideration, all are the alter-ego of Shilo and are shams which should

 be pierced by the Trustee and/or creditors.


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              146.          At the meeting of creditors, Shilo testified that he essentially lives out of the bank

 account of Big 21 LLC and/or SS21 LLC for his daily personal and living expenses, including

 using the Big 21 LLC bank account to pay for this apartment, and that the Big 21 LLC bank account

 receives football scholarship and/or stipend proceeds from the University of Colorado.

              147.          Because Big 21 LLC and/or SS21 LLC, and any other vehicles through which Shilo

 leverages his NIL property interest, each is the alter ego of Shilo, each is sham entities, and all of

 the assets and liabilities of each should have been included and fully disclosed in the schedules

 and SOFA.

              148.          Also, On September 30, 2021, Shilo filed an application for the Trademark

 HEADACHE GANG under his company SS21, LLC.

              149.          Shilo omits from the schedules and mention of his Trademark HEADACHE

 GANG; Serial No. 97053774; which he profits from by selling merchandise on his website.

              150.          The schedules also oddly omit any contracts between Shilo and the University of

 Colorado and/or the NIL entities associated with the University and/or its football team, or relating

 to any scholarship.

              151.          In addition, SOFA-27 (Docket No. 19) lists only two entities in which Shilo has

 been involved in the last four (4) years, yet testimony at the creditors meeting raised the issue as

 to whether or not Shilo has owned and/or controlled a number of other entities within the scope of

 SOFA-27.

 Informal discovery not fulfilled.

              152.          Darjean sought informal discovery prior to filing of this Complaint.

              153.          Darjean also attempted to negotiate a Rule 2004 agreed order before the January

 29, 2024 discharge complaint deadline to obtain documents from and the testimony of the Debtor,




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 but time was insufficient to complete the agreement, file the agreement, and then obtain the

 discovery, and then conduct the deposition, before the complaint deadline.

 Shilo buys a house for Deion just after filing for bankruptcy.

              154.          On January 27, 2024, the “Well Off Media” of Deion Sanders on YouTube4 and

 several sports news outlets reported that Shilo had participated in the purchase of and had gifted a

 house in Boulder, Colorado to his father, Deion Sanders. Ex. DAR017 (CBS news article).

              155.          The timing and orchestration of the house acquisition by Shilo and conveyance to

 an insider of Shilo raises a plethora of questions regarding the resources of Shilo used in the

 acquisition, whether those resources were disclosed in the schedules or at the creditors meeting,

 and the timing of the deployment of such resources to acquire the property.5

                                                                     CAUSES OF ACTION

              156.          Plaintiff asserts the following claims and causes of action against the Defendant.

              157.          Plaintiff incorporates the foregoing paragraphs of this Complaint into each and

 every Cause of Action below as if fully set forth verbatim therein.

 Count 1 — Denial of discharge Code § 727(a)(2).

              158.          Shilo has undertaken one or more of the offenses described in Code § 727(a)(2),

 thus Shilo’s discharge should be denied.

              159.          Code § 727(a)(2) provides that a debtor is ineligible for discharge when:

                            the debtor, with intent to hinder, delay, or defraud a creditor or an officer of the
                            estate charged with custody of property under this title, has transferred, removed,
                            destroyed, mutilated, or concealed, or has permitted to be transferred, removed,
                            destroyed, mutilated, or concealed—



 4
     Available at: https://www.youtube.com/watch?v=3vZ-F8SmGHg.
 5
  Furthermore, the acquisition raises questions as to whether or not a fraudulent conveyance has occurred or whether
 any interest in the property is recoverable by the Chapter 7 Trustee, and whether the Chapter 7 Trustee should file a
 notice of lis pendens against the property in question.



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                            (A)           property of the debtor, within one year before the date of the filing of the
                                          petition; or

                            (B)           property of the estate, after the date of the filing of the petition.

              160.          On information and/or belief, and based upon the facts accumulated to date and

 which may be obtained through discovery in this action, Shilo (i) has transferred, removed,

 destroyed, mutilated, or concealed, or has permitted to be transferred, removed, destroyed,

 mutilated, or concealed property of Shilo (ii) within one year before Petition Date (iii) with the

 intent to hinder, delay, or defraud Darjean, any other creditors, and/or the Chapter 7 Trustee.

              161.          Additionally and/or alternatively, on information and/or belief, and based upon the

 facts accumulated to date and which may be obtained through discovery in this action, Shilo (i)

 has transferred, removed, destroyed, mutilated, or concealed, or has permitted to be transferred,

 removed, destroyed, mutilated, or concealed property of the estate (ii) after the Petition Date (iii)

 with the intent to hinder, delay, or defraud Darjean, any other creditors, and/or the Chapter 7

 Trustee.

              162.          On information and belief, concealment by Shilo is continuous, in that Shilo

 continues to conceal property after the Petition Date that Shilo concealed before the Petition Date.

              163.          In addition, formal and informal efforts to obtain the production of document and/or

 engage in other discovery have occurred without completion prior to the commencement of this

 action and will continue under Bankr. Rule 2004 with respect to other aspects of this bankruptcy

 case and/or under Bankr. Rule 7001 et seq. in connection with this adversary proceeding.

 Additional and/or other grounds for liability under Code § 727(a)(2) may be discovered and/or

 pleaded prior to and presentation in a dispositive motion and/or at trial.

              164.          Accordingly, the Court should deny the discharge of Shilo pursuant to Code

 § 727(a)(2).



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 Count 2 — Denial of discharge Code § 727(a)(3).

              165.          Shilo has undertaken one or more of the offenses described in Code § 727(a)(3),

 thus Shilo’s discharge should be denied.

              166.          Code § 727(a)(3) provide that a debtor is ineligible for discharge when:

              the debtor has concealed, destroyed, mutilated, falsified, or failed to keep or preserve any
              recorded information, including books, documents, records, and papers, from which the
              debtor’s financial condition or business transactions might be ascertained, unless such act
              or failure to act was justified under all of the circumstances of the case.

              167.          The inadequacies of the schedules and the confusing, incomplete testimony of Shilo

 at the meeting of creditors demonstrate the difficulty that creditors and the Trustee have to

 ascertain the financial condition and business transactions of Shilo.

              168.          With the vast array of attorneys and advisors at his disposal, and the extreme

 flaunting of personal wealth, under no circumstances can Shilo demonstrate a justification for

 failing to supply sufficient and necessary information in a coherent and timely manner, required

 of any Chapter 7 individual debtor.

              169.          So far, Shilo has failed and/or refused to produce any records to Darjean.

              170.          So far, Shilo has failed and/or refused to produce any records that explain the lack

 of assets on the schedules and/or a lack of assets to satisfy his liability, to justify the “unknown”

 values listed in the schedules, and exactly where Shilo stops and the various entities he is involved

 in start, if there is indeed any separation at all.

              171.          In fact, Shilo has failed and/or refused to produce any records at all to demonstrate

 why Chapter 7 relief is appropriate for this debtor at all.

              172.          Although intent is not a necessary element for a debtor to be denied a discharge

 under Code §747(a)(4), on information and/or belief, the failure and/or refusal of Shilo to produce




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 records is intentional and designed to frustrate the Chapter 7 process, and is contrary to the full,

 open, and complete disclosure demanded of any debtor seeking Chapter 7 relief.

              173.          If and when any records are received, many new questions are certain to surface.

              174.           In addition, Shilo is responsible for the actions and/or omissions of those persons

 and/or entities whom Shilo has relied upon in maintaining his books and records.

              175.          In addition, formal and informal efforts to obtain the production of documents

 and/or engage in other discovery have occurred without completion prior to the commencement

 of this action, and will continue under Bankr. Rule 2004 with respect to other aspects of this

 bankruptcy case and/or under Bankr. Rule 7001 et seq. in connection with this adversary

 proceeding.               Additional and/or other grounds for liability under Code § 727(a)(3) may be

 discovered and/or pleaded prior to presentation in a dispositive motion and/or at trial.

              176.          Accordingly, the Court should deny the discharge of Shilo pursuant to Code

 § 727(3).

 Count 3 — Denial of discharge Code § 727(a)(4).

              177.          Shilo has undertaken one or more of the offenses described in Code § 727(a)(4),

 thus Shilo’s discharge should be denied.

              178.          Code § 727(a)(4) provide that a debtor is ineligible for discharge when:

                            the debtor knowingly and fraudulently, in or in connection with the case—

                            (A)           made a false oath or account;

                            (B)           presented or used a false claim;

                            (C)           gave, offered, received, or attempted to obtain money, property, or
                                          advantage, or a promise of money, property, or advantage, for acting or
                                          forbearing to act; or

                            (D)           withheld from an officer of the estate entitled to possession under this title,
                                          any recorded information, including books, documents, records, and papers,
                                          relating to the debtor’s property or financial affairs.


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              179.          Shilo has made a false oath and/or account by through and the schedules and/or

 SOFA filed in this case.

              180.           Shilo has made a false oath and/or account by and through the testimony of Shilo

 and/or other disclosures made for or on behalf of Shilo in the meeting of creditors.

              181.          Additionally and alternatively, and on information and/or belief, Shilo has withheld

 documents and/or information from the Chapter 7 Trustee.

              182.          In addition, formal and informal efforts to obtain the production of documents

 and/or engage in other discovery have occurred without completion prior to the commencement

 of this action, and will continue under Bankr. Rule 2004 with respect to other aspects of this

 bankruptcy case and/or under Bankr. Rule 7001 et seq. in connection with this adversary

 proceeding.               Additional and/or other grounds for liability under Code § 727(a)(4) may be

 discovered and/or pleaded prior to presentation in a dispositive motion and/or at trial.

              183.          Accordingly, the Court should deny the discharge of Shilo pursuant to Code

 § 727(a)(4).

 Count 4 — Denial of discharge Code § 727(a)(5).

              184.          Shilo has undertaken one or more of the offenses described in Code § 727(a)(5),

 thus Shilo’s discharge should be denied.

              185.          Code § 727(a)(5) provide that a debtor is ineligible for discharge when:

                            the debtor has failed to explain satisfactorily, before determination of denial of
                            discharge under this paragraph, any loss of assets or deficiency of assets to meet
                            the debtor’s liabilities.

              186.          Shilo to date has failed to satisfactorily explain the loss of assets or deficiency of

 assets to meet his liabilities.

              187.          In addition, formal and informal efforts to obtain the production of document and/or

 engage in other discovery have occurred without completion prior to the commencement of this


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 action, and will continue under Bankr. Rule 2004 with respect to other aspects of this bankruptcy

 case and/or under Bankr. Rule 7001 et seq. in connection with this adversary proceeding.

 Additional and/or other grounds for liability under Code § 727(a)(5) may be discovered and/or

 pleaded prior to presentation in a dispositive motion and/or at trial.

              188.          Accordingly, the Court should deny the discharge of Shilo pursuant to Code

 § 727(a)(5).

 Count 5 — Denial of discharge Code § 727(a)(6).

              189.          Shilo has undertaken one or more of the offenses described in Code § 727(a)(6).

              190.          Code § 727(a)(6) provide that a debtor is ineligible for discharge when:

                            the debtor has refused, in the case—

                            (A)to obey any lawful order of the court, other than an order to respond to a material
                            question or to testify;

                            (B)on the ground of privilege against self-incrimination, to respond to a material
                            question approved by the court or to testify, after the debtor has been granted
                            immunity with respect to the matter concerning which such privilege was invoked;
                            or

                            (C)on a ground other than the properly invoked privilege against self-incrimination,
                            to respond to a material question approved by the court or to testify.


              191.          Darjean pleads this cause of action under Code §727(a)(6) in order to preserve this

 claim in the event Shilo engages in any of the conduct referenced and described Code §727(a)(6)

 through the remainder of this case.

              192.          Accordingly, upon the occurrence of the requisite factual predicates, the Court

 should deny the discharge of Shilo pursuant to Code § 727(a)(6).

 Count 6 — Recovery of attorney's fees and expenses.

              193.          The actions of Shilo necessitated Darjean retaining an attorney, and Darjean has

 incurred and continues to incur attorney fees and expenses.


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              194.          Darjean requests that the Court award attorneys’ fees and expenses to Darjean to

 the extent permitted by applicable law.

                                                             CONDITIONS PRECEDENT

              195.          All conditions precedent to Darjean’s claims for relief have been performed or have

 occurred.

                                                           CONCLUSION AND PRAYER

              WHEREFORE, John Darjean, Plaintiff, respectfully requests that Shilo Dion Sanders,

 Defendant, be cited to appear and answer, and Plaintiff request upon final adjudication by the

 Court that the Court enter judgment in favor of Darjean and order, adjudge, and decree that:

             (1)            the discharge of Shilo Dion Sanders be denied overall pursuant to Code § 727 as
                            set forth above.

 Plaintiff respectfully requests that the Court award to Plaintiff attorneys’ fees and expenses to the

 extent permitted by applicable law and grant to Plaintiff such other and further relief to which

 Plaintiff is entitled otherwise at law or in equity.




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   Dated: January 29, 2024                                           Respectfully submitted:

                                                                     MATHIAS RAPHAEL PLLC

                                                                     By: /s/ Ori Raphael*
                                                                         Ori Raphael (Tx Bar No. 24088273)
                                                                         Mathias Raphael PLLC
                                                                         13101 Preston Road, Suite 501
                                                                         Dallas, TX 75240
                                                                         214-739-0100
                                                                         ori@mr.law

                                                                     - and -

                                                                     SWEETBAUM MILLER, PC

                                                                     By: /s/ Andrew Miller
                                                                         Alan D. Sweetbaum (#13491)
                                                                         Andrew Miller (#44219)
                                                                         1200 17th Street, Suite 1250
                                                                         Denver, CO 80202
                                                                         Telephone: (303) 296-3377
                                                                         asweetbaum@sweetbaumlaw.com
                                                                         amiller@sweetbaumlaw.com

                                                                     - and -


                                                                     WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
                                                                     By:    /s/ Jeff Carruth*
                                                                         JEFF CARRUTH (Tx Bar No. 24001846)
                                                                         2608 Hibernia, Suite 105
                                                                         Dallas, TX 75204-2514
                                                                         Telephone: (713) 341-1158
                                                                         Fax: (713) 961-5341
                                                                         E-mail: jcarruth@wkpz.com

                                                                     ATTORNEYS FOR JOHN DARJEAN

                                                                     * Signature by permission by /s/ Andrew Miller




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